      Case 1:07-cv-11693-GAO           Document 18-2       Filed 12/21/07      Page 1 of 8




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

______________________________
                              )
PEDRO LOPEZ, et al.           )
                              )
            Plaintiffs,       )                      CIVIL ACTION
                              )                      NO. 07-11693-JLT
            v.                 )
                              )
CITY OF LAWRENCE, et al.      )
                              )
            Defendants.        )
______________________________)


                          STIPULATION AND ORDER
               FOR THE PROTECTION OF CONFIDENTIAL MATERIAL

       By the request and consent of the parties in the above-captioned action, and for good

cause shown, the Court hereby enters this Protective Order, pursuant to Rule 26(c) of the Federal

Rules of Civil Procedure, for the purpose of protecting confidential material associated with

examinations utilized for making promotional appointments within those municipal police forces

governed by the civil service laws of the Commonwealth of Massachusetts.

       1.      Definitions. As used herein, the quoted words and phrases shall have the

following meanings:

       a.      "Party" means any plaintiff or defendant in the above-captioned action.

       b.      "Independent Expert" means any person consulted by a party in connection with
               the prosecution, defense, and/or appeal of the above-captioned action.

       c.      "Confidential Material" means documents and things that have been designated
               by the producing party with a "Confidential" stamp, including but not limited to
               documents which constitute or evidence: (1) the contents of examinations
               proposed for use or actually used for making promotional appointments within
               any municipal police force in the Commonwealth of Massachusetts, (2) the
               methodology by which such examinations are devised or scored, (3) the scores on
               such examinations achieved by examination-takers, (4) appeals taken from the
      Case 1:07-cv-11693-GAO           Document 18-2        Filed 12/21/07        Page 2 of 8




               scoring of examination answers, (5) any individual’s personnel records, and
               (6) any record that is not a “public record” as defined in clause Twenty-sixth of
               section seven of chapter four of the Massachusetts General Laws. The identity of
               police chiefs who have participated in the examination-creation process as subject
               matter experts shall also be deemed “Confidential Material.”

       2.      Persons to Whom Confidential Material May Be Disclosed. Except with the

prior consent of the producing party or upon further order of the Court, Confidential Material

shall be disclosed only to:

       a.      Counsel of record in this action;

       b.      Stenographers transcribing the testimony or argument at a deposition, hearing, or
               trial;

       c.      A deponent during the course of his or her deposition;

       d.      Independent experts retained by counsel for the receiving party; provided,
               however, that no Confidential Material shall be disclosed to such experts until the
               conditions detailed in paragraph 3 have been met;

       e.      Secretaries, paralegals, clerical, and other employees of the individuals identified
               in subparagraphs (a)-(d) above, to the extent reasonably necessary to render
               professional legal services in the litigation; and

       f.      The Court, as provided in this Stipulation and Order.

Unless otherwise ordered by the Court, the producing party may limit, for good cause,

dissemination of Confidential Material to a subset of the above-listed persons.

       3.      Conditioning Disclosure. Confidential Material may be disclosed to a person

listed in paragraphs 2(b)-(d) only if such person has executed an acknowledgement in the form

attached hereto as Exhibit A that s/he has read this Stipulation and Order and agrees to be bound

thereby.

       4.      Redaction of Confidential Information Regarding Non-Parties. Nothing in

this Stipulation and Protective Order shall be construed to preclude a producing party from

redacting from original documents or data compilations any information, data, or other material

                                               -2-
      Case 1:07-cv-11693-GAO            Document 18-2         Filed 12/21/07       Page 3 of 8




that directly relates to a specifically named, non-party individual if the disclosure of such

material would constitute an unwarranted invasion of personal privacy or the material otherwise

constitutes “personal data” as that term is employed in Mass. Gen. Laws c. 66A, § 1. Unless the

data subject approves the disclosure of protected personal data, such data shall not be released

without the data subject first having been notified of any demand made, by means of compulsory

legal process or otherwise, in reasonable time such that the data subject may seek to have the

demand quashed.

       5.      Making Copies of Confidential Material. No copies of Confidential Material

shall be made except as is reasonably necessary to carry out this litigation. All copies of

Confidential Material shall remain within the possession of those entitled to have access to

Confidential Material under Paragraph 2 of this Stipulation and Order.

       6.      Protecting Confidential Material at Depositions. No person may refuse to

answer any questions at a deposition on the sole ground that the question requires the person to

reveal Confidential Material. Depositions shall proceed upon the following basis: Prior to

questioning or testimony that discloses Confidential Material, all persons present shall be

advised of the terms and conditions of this Stipulation and Order and jointly requested to abide

thereby. At the request of a party, all persons not authorized to receive Confidential Material

under this Stipulation and Order shall leave the room during the time in which such Confidential

Material is disclosed or discussed. Information disclosed at depositions may be designated as

Confidential Material by indicating on the record at the deposition the portion of the testimony

that contains Confidential Material, or within sixty (60) days after receipt of the deposition

transcript, by notifying counsel for all parties, in writing, indicating the specific pages and lines

of the transcript that contain Confidential Material. So designated, Confidential Material


                                                 -3-
         Case 1:07-cv-11693-GAO          Document 18-2         Filed 12/21/07      Page 4 of 8




contained in deposition transcripts shall be subject to this Stipulation and Order to the same

extent as all other Confidential Material.

         7.    Use of Confidential Material

         a.    Limited to Use in this Action: No party or agent thereof shall be permitted to

make use of any Confidential Material received pursuant to this Stipulation and Order in any

other forum or action unless (i) the Confidential Material to be used elsewhere is derived from an

independent source, (ii) by written agreement of the producing party, or (iii) pursuant to court

order.

         b.    At Trial and in Court Filings: If any party intends to disclose Confidential

Material at trial, or in a pleading, motion, deposition, transcript, or other paper filed with this

Court, such party shall provide advance notice to the producing party sufficient to permit the

parties to consult as to how to proceed under Local Rule 7.2.

         8.    Return of Confidential Material. The termination of proceedings in this action

shall not relieve the persons described in paragraph 2 above from the obligation of maintaining

the confidentiality of all Confidential Material received pursuant to this Stipulation and Order,

unless the Court orders or permits otherwise. At the conclusion of the case, each party may

request the return of all Confidential Material previously furnished by such party to another

party, and each such receiving party shall be obligated to return such Confidential Material

within a reasonable time period, not to exceed thirty (30) days. Each original recipient of the

Confidential Material shall be responsible for securing and returning, within this same time

period, any and all extant copies of Confidential Material that s/he allowed to be made.

         9.    Procedure for Eliminating Confidential Status. If any party believes that a

document or thing otherwise subject to this Stipulation and Order should not be treated as


                                                 -4-
      Case 1:07-cv-11693-GAO            Document 18-2         Filed 12/21/07      Page 5 of 8




Confidential Material, the party shall identify, in writing, within 60 days of receipt, the material

that it believes should not be deemed confidential. If such notice does not result in agreement,

the party may, by motion, seek an order of this Court lifting confidential status for such material.

All such material shall continue to have confidential status during the pendency of any motion to

determine its confidential status.

       10.     Right to Seek Modification. Although this Stipulation and Order has been

entered by joint motion of the parties, it shall not constitute a contract between the parties that

prevents a modification of this Stipulation and Order or the establishment of additional

protection with respect to the confidentiality of discovery material. Upon a showing of good

cause, the Court shall have the power to make any modification hereof which justice may

require.

       11.     Care of Confidential Material. Each party shall take reasonable precautions to

prevent the unauthorized or inadvertent disclosure of any Confidential Material. Each person

receiving Confidential Material shall first be advised by the appropriate party of the terms of this

Stipulation and Order.

       12.     Subpoena by Other Court or Agency. If Confidential Material received in

discovery from a party becomes subject to the process or order of any other court or

administrative agency, the recipient of such process or order shall promptly notify the producing

party of the pendency of such process or order.




                                                 -5-
      Case 1:07-cv-11693-GAO         Document 18-2       Filed 12/21/07    Page 6 of 8




Agreed to on the 21st day of December 2007 and subscribed to this ____ day of January 2008.



/s/ Robert L. Quinan, Jr.                          /s/ Peter J. McQuillan
__________________________________                 _________________________________
Robert L. Quinan, Jr.                              Peter J. McQuillan, Esq.
Assistant Attorney General                         Office of the City Solicitor
Government Bureau                                  41 Pleasant Street
One Ashburton Place, Room 2019                     Room 311
Boston, MA 02108                                   Methuen, MA 01844


/s/ Leah M. Barrault                               /s/ James M. Bowers
__________________________________                 _________________________________
Harold L. Lichten, Esq.                            James M. Bowers, Esq.
Leah M. Barrault, Esq.                             Assistant City Attorney
Pyle, Rome, Lichten, Ehrenberg &                   City of Lawrence
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Boston, MA 02108                                   Lawrence, MA 01840




                                             -6-
      Case 1:07-cv-11693-GAO           Document 18-2        Filed 12/21/07      Page 7 of 8




                                           EXHIBIT A


        I have been designated by ___________________________as a person who may have
access to Confidential Material as this term is defined in the Stipulation and Order entered by the
Court in Lopez, et al. v. City of Lawrence, et al., U.S. District Ct. (Mass.) Docket No. 07-11693-
JLT. I have read that Stipulation and Order. I understand that I will be bound by the terms of
that Stipulation and Order with respect to all Confidential Material, as defined in the Stipulation
and Order, and I agree to comply fully with the terms of the Stipulation and Order.

   Signed under the pains and penalties of perjury on this ____day of ______________ 200__.


                                             __________________________________________
                                             [Recipient of Confidential Material]




                                               -7-
      Case 1:07-cv-11693-GAO            Document 18-2      Filed 12/21/07     Page 8 of 8




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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            Plaintiffs,       )                     CIVIL ACTION
                              )                     NO. 07-11693-JLT
            v.                )
                              )
CITY OF LAWRENCE, et al.      )
                              )
            Defendants.       )
______________________________)


                                   ORDER OF THE COURT

       The above Stipulation for the Protection of Confidential Material is allowed, and its terms

are to be entered as an order of this Court.



                                                    _________________________________
                                                    United States District Judge

Dated: ____________________
